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                                      UNITED STATES BANKRUPTCY COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                               TAMPA DIVISION

IN RE:

YVONNE DORMANY                                                                 CASE NO. 8:08-bk-12948-CPM

       Debtor
___________________________/

                                         REPORT OF UNCLEARED FUNDS

          COMES NOW the Trustee, Angela Stathopoulos, and she does respectfully show that, pursuant to the order
of distribution, she has disbursed the entire amount in the Trustee’s account, and that all checks have cleared with the
exception of the following:


              Claim #       Check #       Claimant / Address             Amount         Action Taken
              Surplus        104          Yvonne Dormany                $7,989.42       Stop payment
                                          8505 Ola Ave.
                                          Tampa, FL 33604


          The Trustee states that more than ninety (90) days have elapsed since the declaration and distribution of the
final dividend. Since the date of the distribution, the Trustee has been advised that the Debtor, to whom the above
referenced surplus Estate funds were paid, died on or about August 1, 2012 intestate. At this time, the Trustee is
uncertain who is entitled to payment of these funds and believes that the best course of action is to remit the referenced
funds to the Court to allow all beneficiaries the opportunity to assert their rights to the funds. Therefore, pursuant to the
provisions of 11 USC § 347, the undersigned attaches hereto a check in the amount of $7,989.42 payable to the Clerk,
U.S. Bankruptcy Court, and states that the claimants entitled thereto, are as listed above, and that their addresses, as far
as known, are given above.

                                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that a true and correct copy of the foregoing has been sent either electronically or by
U.S. mail to the U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602 this August 14, 2013.

                                                                 ANGELA STATHOPOULOS, P.A.
                                                                 39040 U.S. Hwy. 19 N.
                                                                 Tarpon Springs, FL 34689
                                                                 Telephone: 727-938-8775
                                                                 Facsimile: 727-938-8776


                                                                 By:       /s/ Angela Stathopoulos
                                                                           Angela Stathopoulos, Esq.
                                                                           Florida Bar No. 136735
